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                      IN THE UNITED STATES BANKRUPTCY COURT
                           THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                 )   CASE NO.: 18-03663-dd
 IN RE:
                                                 )
                                                 )   Chapter 7
 Robert Wayne Kelley
                                                 )
 Janice Diana Kelley
                                                 )   NOTICE OF MOTION FOR RELIEF FROM
                                                 )   AUTOMATIC STAY
 Debtors
                                                 )   11 U.S.C. §362

TO:    DEBTOR(S), DEBTOR’S ATTORNEY, TRUSTEE, AND THOSE NAMED IN THE
       ATTACHED MOTION:

PLEASE TAKE NOTICE THAT A HEARING will be held on the attached Motion on:

           Date:    October 31, 2018
           Time:    2:00 p.m.
           Place:   U.S. Bankruptcy Courthouse
                    145 King Street, Room 225
                    Charleston, SC 29401

        Within fourteen (14) days after services of the attached Motion, and the Notice of Motion
accompanied by the movant’s Certification of Facts, and a blank Certification of Facts form, any
party objecting to the relief sought shall:

       (1)     File with the Clerk of this Court a written objection to the 11 U.S.C. 362 Motion;
       (2)     File with the Clerk of this Court a Certification of Facts;
       (3)     Serve on the movant items 1 & 2 above at the address shown below; and
       (4)     File a certificate of such service with the Clerk of this Court.

       Should you fail to comply with this procedure you may be denied the opportunity to appear
and be heard on this proceeding before the Court.

                                                DATE OF ISSUANCE: September 4, 2018
                                                MOVANT: Ditech Financial LLC
                                                ATTORNEY: T. Lowndes Pope (I.D. 6079)
                                                ATTORNEY’S ADDRESS:               P.O. Box 11412
                                                                                  Columbia, SC 29211
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

 IN RE:                                            )
                                                       CASE NO.: 18-03663-dd
                                                   )
                                                       Chapter 7
 Robert Wayne Kelley                               )
 Janice Diana Kelley                               )
                                                       MOTION TO LIFT STAY
                                                   )
 Debtors                                           )

TO:     DEBTOR(S), DEBTOR’S ATTORNEY, TRUSTEE, AND THOSE NAMED IN THE
        MOTION:

        YOU WILL PLEASE TAKE NOTICE that the undersigned will appear before the Court

fourteen (14) days after service of this notice upon you, or as soon as thereafter as this matter may be

heard, requesting that this Court lift the stay to Ditech Financial LLC (“Movant”) for the following

reasons:

        1.      The above-referenced Debtors filed a petition for relief under Chapter 7 of the U.S.

                Bankruptcy Code on July 20, 2018.

        2.      Kevin Campbell is the Trustee of the Debtors’ estate and may claim an interest in the

                property which is the subject of this action.

        3.      Movant is the holder of a secured claim against the Debtors evidenced by a Mortgage,

                copy of which is attached hereto. The property covered by the Mortgage consists of

                Real Property and is more fully described in the Mortgage. Attached are redacted

                copies of any documents that support the claim, such as promissory notes, purchase

                order, invoices, and itemized statements of running accounts, contracts, judgments,

                mortgages, and security agreements in support of right to seek a lift of the automatic

                stay and foreclose if necessary.

        4.      The Debtors are contractually due for the December 2017 payment. Also due is

                $181.00 filing fee in Bankruptcy Court and $750.00 attorney’s fees for this action.
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                Movant, therefore, has not been provided adequate protection for its interest in the

                property and is suffering irreparable harm and injury.

        5.      Movant is informed and believes that the Debtors have not handled this obligation in

                good faith and that this Court should issue its Order lifting the stay as to the security of

                Ditech Financial LLC so that appropriate procedures may begin to protect the interest

                of the Ditech Financial LLC.

        6.      The Movant agrees to waive any claim that may arise under 11 U.S.C. § 503(b) or §

                507(b) as a result of this Order. The Creditor further agrees that any funds realized

                from the liquidation of its collateral, in excess of all liens, costs and expenses, shall be

                paid to the Trustee.

WHEREFORE, pursuant to 11 U.S.C. § 362(d)(1), Movant hereby moves for an Order modifying the

automatic stay to permit actions in State Court against the subject property.

                                                 RILEY POPE & LANEY, LLC

                                                  /s/T. Lowndes Pope
                                                   T. Lowndes Pope (I.D. 6079)
                                                   Post Office Box 11412
                                                   Columbia, South Carolina 29211
                                                   (803) 799-9993
                                                   (803) 239-1414
                                                   Attorney for Ditech Financial
                                                   LLC
Columbia, South Carolina
September 4, 2018
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                             )
 IN RE:
                                             )   CASE NO.: 18-03663-dd
                                             )   Chapter 7
 Robert Wayne Kelley
                                             )
 Janice Diana Kelley
                                             )   CERTIFICATION OF FACTS
                                             )
             Debtors,
                                             )

      In the above entitled proceeding, in which relief is sought by Ditech Financial LLC
(“Movant”) from the automatic stay provided by 11 U.S.C. § 362, I hereby certify to the best of
my knowledge the following:

       1.     Nature of Movant’s Interest:
              Movant is the current holder of the Mortgage.

       2.     Brief Description of Security Interests, copy attached in applicable:
              True and correct copies of the Note and Deed of Trust are attached hereto as
              Exhibits A and B, respectively, and incorporated herein by reference. A true and
              correct copy of the assignment agreement with respect to the Note and Deed of
              Trust is attached hereto as Exhibit C and incorporated herein by reference.

       3.     Description of Property Encumbered by Stay (include serial number, lot and block
              number, etc.).
              RT 1 Box 15E, Liberty, WV 25124

       4.     Basis for Relief (property not necessary for reorganization, debtor has no equity,
              property not property of estate, etc.; include applicable subsection of Section 362):
              11 .S.C. § 362(d)(1); account is in delinquent status

       5.     Prior Adjudication by Other courts, copy attached (Decree of Foreclosure, Order
              for Possession, Levy of Execution, etc., if applicable):
              Not Applicable

       6.     Valuation of Property, copy of Valuation attached (Appraisal, Blue Book, etc.):

       Fair Market Value                                            $      $50,000.00

       Liens (Mortgage):                                            $      $148,186.47

       Net Equity:                                                  $      $0.00
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      Source/Basis of Value: Per Debtor’s Schedule A

      7.     Amount of Debtors Estimated Equity (using figures from paragraph 6, supra):
             $0.00

      8.     Month and Year in Which First Direct Post-petition Payment Came Due to Movant
             (if applicable):
             N/A – Chapter 7

      9.     (a)    For Movant/Lien Holder: List all post-petition payments received by lien
             holder; date and amount of last payment received; and month for which last
             payment was applied.
             N/A – Chapter 7

             (b)    For Objecting Party (if applicable): List or attach a list of all post-petition
             payments included in the Movant’s list from (a) above which objecting party
             disputes as having been made. Attach written proof of such payment(s) or a
             statement as to why such proof is not available at the time of filing this objection.
             N/A – Chapter 7

      10.    Month and Year for Which Post-petition Account of Debtor(s) is Due as of the Date
             of this Motion.
             N/A – Chapter 7

                                            RILEY POPE & LANEY, LLC

                                             /s/T. Lowndes Pope
                                              T. Lowndes Pope (I.D. 6079)
                                              Post Office Box 11412
                                              Columbia, South Carolina 29211
                                              (803) 799-9993
                                              (803) 239-1414
                                              Attorney for Ditech Financial LLC
Columbia, South Carolina
September 4, 2018
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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

 IN RE:                                   )        CASE NO.: 18-03663-dd
                                          )        Chapter 7
 Robert Wayne Kelley                      )
 Janice Diana Kelley                      )        CERTIFICATE OF SERVICE
                                          )
                                 DEBTORS, )


This is to certify that I, Kristie Price, an employee with the law firm of Riley Pope & Laney, LLC,
have this day caused to be served upon the person named below the attached NOTICE OF
MOTION, MOTION TO LIFT STAY and CERTIFICATION OF FACTS in the above-captioned
matter on September 4, 2018 via United States mail, first-class postage prepaid, to the following
individuals:

Robert Wayne Kelley
Janice Diana Kelley
2871 Jones Swamp Road
Walterboro, SC 29488

Paul W. Owen, Jr., Esq.
Post Office Box 369
Orangeburg, SC 29116

Kevin Campbell, Trustee (via electronic service)
Post Office Box 684
Mount Pleasant, SC 29465
                                                     /s/Kristie Price__________________
                                                     Riley Pope & Laney, LLC
                                                     Kristie Price, Bankruptcy Paralegal
                                                     Post Office Box 11412
                                                     Columbia, SC 29211
                                                     803-799-9993

Columbia, South Carolina
September 4, 2018
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